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UNITED STATES DISTRICT COURT                                                       10/19/2020
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------x
                                                              :
   FRANKIE MONEGRO, on behalf of himself
                                                              :
   and all others similarly situated,
                                                              :
                                                  Plaintiff,
                                                              :      1:20-cv-6413 (ALC)
                                                              :
                     -against-
                                                              :      ORDER OF DISCONTINUANCE
                                                              :
   PETER THOMAS ROTH LABS LLC,
                                                              :
                                                              :
                                               Defendant.
                                                              :
------------------------------------------------------------x
                                                              :
ANDREW L. CARTER, JR., United States District Judge:

         It having been reported to the Court that this case has been or will be settled, it is hereby

ORDERED that the above-captioned action is discontinued without costs and without prejudice

to restoring the action to this Court’s calendar if the application to restore the action is made

within sixty (60) days.


SO ORDERED.

Dated:           October 19, 2020
                 New York, New York

                                                                _______________________________
                                                                 HON. ANDREW L. CARTER, JR.
                                                                    United States District Judge




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